Case 1:99-cr-00114-RNS Document1 Entered on FLSD Docket 02/22/1999 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

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18 USC 111(a) (b)

 

Vv.
MAGISTRATE JUDGE | coupon -
) DUBE too
JAMES PETER SABATINO ) ate
) mn it
ao =
The Grand Jury charges that: oo
COUNT I ae =
On or about August 21, 1998, in Miami-Dade County & ht fhe |
— a
Southern District of Florida, the defendant, °
JAMES PETER SABATINO,
did knowingly and willfully, forcibly assault, resist, oppose,

impede, intimidate and interfere with a Federal Correctional
Officer,

a person designated in Title 18, United States Code,

Section 1114, while the aforesaid officer was engaged in the

performance of his official duties and did thereby inflict bodily
injury upon him; in violation of Title 18,

United States Code,
Section 111(a) and (b).

sul

THOMAS 'E. SCOTT
UNITED: STATES ATTORNEY

A TRUE BILL

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STANT UN TED STATES ATTORNEY
Case 1:99-cr-00114-RNS Document1 Entered on FLSD Docket 02/22/1999 Page 2 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF “O9 (y ll
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CERTIFICATE OF TRIAL ATTORNEY*

 

 

JAMES PETER SABATINO
MAGISTRATE JUDGE
Related Case Information: ‘2 =
SUPERSEDING Yes —. No-X i
Court Division: (Sseiect one) New Defendant(s) Yes —— Nee
Number of New Defendants ——_—
x Miami -~— Key West Total number of counts —_—_  - 7
— FTL —~ — WPB— — FTP “ oj
pone 4 a)
| do hereby certify that: sae = |
> OY
1. | have carefully considered the allegations of the indictment, the nugiber fendants,
the number of probable witnesses and the legal complexities of the Indictmentinformation
attached hereto.
2. | am aware that the information supplied on this statement will be relied upon by the

Judges of this Court in setting their calendars and scheduling criminal trials under the
mandate of the Speedy Trial Act, Title 28 U.S.C. Section 3161.

3. Interpreter: (Yes or No) No
List language and/or dialect

 

4. This case willtake 2 days for the parties to try.

5. Please check appropriate category and type of offense listed below:
(Check only one) (Check only one)

{ 0 to 5 days xX Petty ———_

I 6 to 10 days —_— Minor —__—_

lil 11 to 20 days —_—_—_. Misdem. ——

IV 21 to 60 days —— Felony —x__

 

V 61 days and over

6 Has this case been previously filed in this District Court? (Yes or No) —No_
yes:

 

 

Judge: Case No.
(Attach copy of dispositive order)

Has a complaint been filed in this matter? (Yes or No) ___-_ NO.
if yes:

Magistrate Case No.
Related Miscellaneous numbers:
Defendant(s) in federal custody as of
Defendant(s) in state custody as of

Rule 20 from the _-_SEC~*=éCSiSttricctt Of

aif ict Z. “ fehacls

UEZ-SCHACK

hs STANT UN D STATES ATTORNEY
Flo ida Bar Nov? 686

*Penalty Sheet(s) attached REV. 10/08/98

 

 

 

 

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

 

 

 

 

 

 

 

 

 

 

 

 

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Defendant Name: _ge Qed | caf. 4. { :R-G R f\ LY fj A A
_ DUBE
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Count #: 2
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Bo |
*Max, Penalty: zom |
Count #:

 

 

 

*Max. Penalty:

 

 

 

 

 

 

 

 

Count #:
*Max. Penalty
Count #

 

 

 

 

*Refers only to possible term of incarceration, does not include possible fines,
restitution, special assessments, parole terms, or forfeitures that may be
applicable.

 
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L6LWS-LLb

 
 

| - OO 1 l 4 S CR-GRAHAM macisreare JUDGE

DUBE

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CRIMINAL DIVISION

ee

THE UNITED STATES OF AMERICA

vs
JAMES PETER SABATINO

 

 

 

 

 
  

INDICTMENT
IN VIOLATION OF
18 USC 111 (a)

, A true bill

 

97-O% (MIA) Foreman

 

 

 

 

 

 
